                                                                              FILED
                      UNITED STATES DISTRICT COURT                           JAN 21 2025
                   EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION

                            NO.:

UNITED STATES OF AMERICA                      )
                                              )
         V.                                   )      CRIMINAL INFORMATION
                                              )
MATEEN MOHAMMAD ALINAGHIAN                    )

       The United States Attorney charges:

       Beginning in or around May 2022, and continuing through on or about May

9, 2024, in the Eastern District of North Carolina and elsewhere, the defendant,

MATEEN MOHAMMAD ALINAGHIAN, did intentionally traffic in goods and

knowingly use a counterfeit mark on and in connection with such goods and

services, that is, Defendant knowingly and intentionally imported automotive

steering wheel airbags from the United Kingdom containing counterfeit marks of

Honda, General Motors, Toyota, and other motor companies, and the use of such

counterfeit mark was likely to cause confusion, mistake, and deception.

      All in violation of Title 18, United States Code, Section 2320.

                               FORFEITURE NOTICE

      Notice is hereby given that all right, title and interest m the property

described herein is subject to forfeiture.

      Upon conviction of any offense in violation of section 506 of title 17 or section

2318, 2319, 2319A, 2319B, or 2320 of title 18, the defendant shall forfeit to the

United States, pursuant to 18 U.S.C. § 2323, (a) any article, the making or

trafficking of which is prohibited under section 506 of title 17 or section 2318, 2319,


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2319A, 2319B, or 2320 of title 18; (b) any property used or intended to be used in

any manner or part to commit or facilitate the commission of such an offense; and

(c) property, real or personal, which constitutes or is derived from proceeds

traceable to the said offense.

      The forfeitable property includes, but is not limited to, the following:

      Forfeiture Money Judgment:

      a) A sum of money representing the gross proceeds of the offense charged

          herein against MATEEN MOHAMMAD ALINAGHIAN in the amount of

          at least $154,693.16.

      If any of the above-described forfeitable property, as a result of any act or

omission of a defendant: cannot be located upon the exercise of due diligence; has

been transferred or sold to, or deposited with, a third party; has been placed beyond

the jurisdiction of the court; has been substantially diminished in value; or has been

commingled with other property which cannot be divided without difficulty; it is the

intent of the United States, pursuant to Title 21, United States Code, Section

853(p), to seek forfeiture of any other property of said defendant up to the value of

the forfeitable property described above.


                                                MICHAEL F. EASLEY, JR
                                                United States Attorney


                                        BY:

                                                Assistant United States Attorney

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